  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


JOHN A. ABRAMS, et al.,     )
                            )
    Plaintiffs,             )
                            )      CIVIL ACTION NO.
    v.                      )       3:12cv177-MHT
                            )           (WO)
THOMAS H. TUBERVILLE,       )
et al.,                     )
                            )
    Defendants.             )


                    MEMORANDUM OPINION

    Plaintiffs John A. Abrams, Priscilla W. Abrams, Debra

Clark, Baron J. Lowe, Melanie D. Lowe, Fredrick Glen

Williams, Kristy A. Williams, and Flynn R. DuBose, Jr.,

all investors, brought this action naming as defendants

several investment companies (TS Capital Partners, TS

Capital Partners, LLC, TS Capital Management, LLC, TS

Capital Fund, LP, and TS Capital GP, LLC) and the two

individuals   who   co-founded   and     controlled   those

companies, Thomas H. Tuberville and John David Stroud,

claiming violations of federal and state securities and

commodities exchange laws, breaches of fiduciary duties,
unjust enrichment, negligence and wantonness, fraud, and

conversion.    Subject-matter jurisdiction is proper under

28 U.S.C. § 1331 (federal question), 7 U.S.C. § 25(c)

(Commodities    Exchange    Act),     and     28     U.S.C.    §    1367

(supplemental).      The case is now before this court on the

plaintiffs’ motion for entry of default judgment against

Stroud and the company defendants.           For the reasons that

follow, the motion will be granted.



                         I. BACKGROUND

      The allegations in this case are as follows. The

plaintiffs, all of whom sought to grow their savings for

retirement,     entrusted       Tuberville     and     Stroud       with

investing their money; they came to regret that decision.

Savvy investors (which the plaintiffs allegedly were not)

may   have    seen    warning    signs     that      the    plaintiffs

overlooked.     For example, the plaintiffs allege that,

while Tuberville and Stroud purportedly did business as

agents   of   various   entities,     at     least    one     of   those



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entities was nonexistent (it was never actually organized

under the laws of any State); that the plaintiffs were

solicited through various documents that were purported

to   be    exempt     from     regulatory       requirements,        but    the

claimed      exemption       was   a        falsehood;     and   that       the

plaintiffs were assured that everything was in order with

their accounts, the books were regularly audited by a

certified public-accounting firm, all the necessary legal

matters were handled by a law firm, and the funds were

administered          by   responsible         third      parties.          The

plaintiffs now believe that was all untrue.

       The plaintiffs further contend that, in fact, less

than      half   of    their    funds       were   ever    invested;       that

Tuberville and Stroud used the majority of their cash for

personal purposes; that, when the plaintiffs’ accounts

dried up under Tuberville and Stroud’s mismanagement, the

two sought to conceal that fact, sending the plaintiffs

doctored bank statements and making misrepresentations

over the telephone; and that, as of today, the plaintiffs



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cannot say where their funds have gone, although they

believe that they has been misappropriated, converted,

and otherwise squandered for the benefit of Tuberville

and Stroud.     Tuberville has generally denied all of the

plaintiffs’ allegations.

    Stroud and the company defendants have not filed an

answer with the court and have not otherwise provided any

indication of whether they contests the claims brought

against them.    Upon the plaintiffs’ request, the clerk of

the court has issued entries of default against Stroud

and the companies.     The entries of default having not

spurred Stroud and the companies to participate in this

litigation, the plaintiffs now move for default judgment.



                       II. DISCUSSION

    “When a party against whom a judgment for affirmative

relief is sought has failed to plead or otherwise defend

... the clerk must enter the party’s default.”     Fed. R.

Civ. P. 55(a).    Once that has occurred, as it has here,



                              4
the plaintiffs must then “apply to the court for a

default judgment.”     Fed. R. Civ. P. 55(b)(2).      The

clerk’s entry of default causes all allegations of facts

to be deemed admitted by the parties in default.      See

Buchanan v. Bowman, 820 F.2d 359, 361 (11th Cir. 1987).

Here, when the facts alleged are accepted as true, the

plaintiffs’ complaint states claims upon which relief can

be granted against Stroud and the companies.

    The court now turns to the issue of damages.      See

Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1364 n.27

(11th Cir. 1997).    “The court may conduct hearings ...

when, to enter or effectuate judgment, it needs to ...

determine the amount of damages.”        Fed. R. Civ. P.

55(b)(2)(B).   In this case, evidence must be presented to

determine damages.   In the interest of judicial economy,

that evidence should be presented at the time of trial

for the remaining claims in this case.




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       Accordingly,   the   plaintiffs’   motion   for   default

judgment will be granted, and an appropriate judgment

will be entered against defendants Stroud, TS Capital

Partners,     TS   Capital    Partners,    LLC,    TS    Capital

Management, LLC, TS Capital Fund, LP, and TS Capital GP,

LLC.    The issue of damages will be determined at the time

of trial for the remaining claims in this case.

       DONE, this the 7th day of May, 2013.



                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
